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         Exhibit C
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                                                                                  TOMADA DE LA MUNTAME                     US010021198B1

 (12) United States Patent                                                                       ( 10) Patent No.: US 10 ,021, 198 B1
      Diem                                                                                       (45) Date of Patent:     Jul 10 , 2018
 (54) SOFTWARE -BASED MOBILE TRACKING                                                      (56 )                            References Cited
        SERVICE WITH VIDEO STREAMING WHEN
        EVENTS OCCUR                                                                                                U .S . PATENT DOCUMENTS
 (71) Applicant: PERDIEMCO LLC , Marshall, TX                                                        6,072,396 A * 6/2000 Gaukel ............. B6OR 25340/ 1004
                                                                                                                                                           / 5 .5
                (US )                                                                                6 ,683,538 B1 * 1/2004 Wilkes, Jr. .............. GO8G 1 / 20
                                                                                                                                                         340 /539 . 1
 (72) Inventor: Darrell Diem , Madison, AL (US )                                                                              (Continued )
 (73 ) Assignee : PREDIEMCO LLC , Marshall, TX                                                                OTHER PUBLICATIONS
                  (US )
                                                                                           Tellular Corporation , “ Petitioner's Reply ” filed with the Patent Trial
 ( * ) Notice : Subject to any disclaimer, the term of this                                and Appeal Board in Case No. IPR2017 -00968 for U .S . Pat. No.
                  patent is extended or adjusted under 35                                  9 ,621,661, Apr. 20 , 2018 .
                  U . S .C . 154 (b ) by 0 days .
                                                                                           Primary Examiner — Mohamed Barakat
 (21) Appl. No.: 15/915,402                                                                (74 ) Attorney, Agent, or Firm — Robert Babayi
 (22) Filed :       Mar. 8 , 2018                                                         (57)                  ABSTRACT
                Related U .S . Application Data                                           An improved system and method for defining an eventbased
                                                                                          upon an object location and a user-defined zone and man
 (60 ) Division of application No . 15 /848 , 367, filed on Dec .                         aging the conveyance of object location event information
       20 , 2017, now Pat. No. 9,954 ,961, which is a                                     among computing devices where object location events are
                         (Continued )                                                     defined in terms of a condition based upon a relationship
                                                                                          between user-defined zone information and object location
 (51) Int. Cl.                                                                            information . One or more location information sources are
        H04L 29 / 08             ( 2006 .01 )                                             associated with an object to provide the object location
       H04W 4 / 30              ( 2018 .01)                                                information . One or more user- defined zones are defined on
                          (Continued )                                                     a map and one or more object location events are defined .
 (52 ) U .S . CI.                                                                           The occurrence of an object location event produces object
        CPC ............ H04L 67/ 18 ( 2013 .01 ); H04L 63 / 104                           location event information that is conveyed to users based
                          ( 2013.01 ); H04L 63 / 105 (2013.01);                            on user identification codes . Accessibility to object location
                           (Continued )                                                    information , zone information , and object location event
 ( 58 ) Field of Classification Search
                                                                                           information is based upon an object location information
        CPC ..... H04L 67/ 18; H04L 63/ 104 ; H04L 63 / 105:                               access code, a zone information access code, and an object
                                                                                           location event information access code, respectively .
                    H04L 63 / 107 ; HO4L 67/22; H04L 67/24 ;
                        (Continued )                                                                                20 Claims, 21 Drawing Sheets
                                                302 Associate User Identification Codes with Computing Devices
                                                          Associate Location Information Source with an Object      *20C
                                                402      Associate Object Location information Access Code with
                                                            Object Location Information Relating to the Object

                                                404     Convey Object Locatiori information to Computing Devices
                                                        Based Upon Object Location information Access Code and
                                                                        User Identification Codes

                                                306                   Define a User- detined Zone
                                                50 ?
                                                         Associate a User-defined Zone Information Access Code
                                                            with Corresponding User- cetined Zone Information

                                                504        Convey User- defined Zone informailon io Computing
                                                          Devices based upon a user-defined Zone information
                                                               Access Cade and User Identification Codes
                                                308     Defirie an Object Location Event Reisting Object Location
                                                              Information to User -defined Zone Information

                                                602     Associate Objeci Location Event Intonation Access Code
                                                          with Object Location Event Information Relating to the
                                                                          Object Location Event

                                                         Determine ar: Occurrence of the Object Location Event

                                                604      Convey Object Location Event Information to Computing
                                                         Devicas Based Upon Object Location Event Information
                                                               Access Code and use identification Codes




                                                                                                                                                                Exhibit C
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                                                              Page 2

               Related U . S . Application Data                             H04W 4 / 80               (2018 .01)
       continuation of application No. 15 /483 ,682 , filed on              G060 10 /00               (2012.01 )
       Apr. 10 , 2017 , now Pat. No . 9 ,871,874, which is a                G06K 7 / 10               (2006 .01)
                                                                            G08B 5 /22                (2006 .01)
       continuation of application No. 15 / 200,592 , filed on     (52 ) U .S . CI.
       Jul. 1, 2016 , now Pat. No . 9 ,621 ,661, which is a                 ???              H04L 63/ 107 (2013 . 01 ); H04L 67/22
       continuation of application No. 14 /629 ,343 , filed on                    ( 2013 .01); H04L 67/ 24 (2013.01); H04W 4 /02
       Feb . 23 , 2015 , now Pat. No. 9 ,485 ,314 , which is a                     ( 2013 .01); H04W 4 /20 (2013 .01); H04W 4 /30
       continuation of application No. 14 /270 ,890 , filed on                           ( 2018 .02 ); H04W 4 /80 ( 2018 . 02 ); H04W
       May 6 , 2014 , now Pat. No . 9, 003 ,499 , which is a                              12 /08 (2013 .01 ); H04W 84 /12 (2013 .01 );
       continuation of application No. 13 /948 ,785 , filed on                              G06K 7 / 10366 ( 2013.01); G06Q 10 / 00
       Jul. 23 , 2013 , now Pat. No. 8,717 , 166 , which is a                                       (2013.01); G08B 5/22 (2013.01)
       continuation of application No. 13 /550 ,788 , filed on         8 ) Field of Classification Search
       Jul. 17 , 2012 , now Pat. No. 8 ,493 , 207, which is a               CPC ........... HO4W 4 /30 ; H04W 4 /80 ; H04W 4 /02 ;
       continuation of application No. 13 / 437, 725 , filed on                           H04W 4 /20 ; H04W 12 /08 ; H04W 84 / 12;
       Apr. 2 , 2012 , now Pat. No . 8 , 223,012 , which is a                             G06K 7 / 10366 ; G060 10 / 00 ; G08B 5 /22
       continuation of application No. 12 / 428 , 008 , filed on            See application file for complete search history .
       Apr. 22 , 2009 , now Pat. No . 8, 149, 113, which is a
       continuation of application No . 11 / 335 ,699 , filed on   (56 )                    References Cited
       Jan . 20 , 2006 , now Pat. No. 7 ,525 ,425 .
                                                                                     U . S . PATENT DOCUMENTS
 (60 ) Provisional application No. 60/ 752 ,879 , filed on Dec .           7,034,683 B2       4 /2006 Ghazarian
       23, 2005 .                                                          7 ,327, 258 B2 2 / 2008 Fast et al.
                                                                           7 , 848,765 B2 12 / 2010 Phillips
 (51 ) Int . Ci.                                                           9 ,282 ,018 B2 * 3/2016 Fu                   . H04L 43 / 0876
       H04L 29/ 06              ( 2006 .01)                                9 ,443 ,243 B2 * 9 /2016 Hampel ................. G06Q 30 /02
       H04W 84/ 12              ( 2009. 01)                            2003/ 0020623 Al * 1/ 2003 Cao                      G01C 21/ 20
       H04W 12 /08                                                                                                            340 /686 . 6
                                ( 2009.01 )
       H04W 4 /02               (2018.01)                              2005 /0156715 AL       7 /2005 Zou
       H04W 4 /20               ( 2018 . 01)                       * cited by examiner




                                                                                                                                      Exhibit C
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                                                          FIG . 1




                                                                                                                             Exhibit C
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                                                                                                           FIG . 2




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                                                                                       Suv


             Associate User identification Codes with Computing Devices
              WANAM      U   MARINA

                                                                                                              300
                   Associate Location Information Source with an Object
              MAANANWAR

                                      Define a User-defined Zone
               Define an Object Location Event Relating Object Location
                        Infomation to User-define Zone Information
                               WHIC HOHOHOHOHONCACACACHOHOHOHOHOHOHOHOHOHOHOCHORORO

                   Determine an Occurrence of the Object Location Event

       312     Convey Object Location Event Information to Computing
                   Devices Based Upon User Identification Codes




                                                                           FIG . 3




                                                                                                                        Exhibit C
                                                                                                                     Page 5 of 36
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       302 Associate Useridentification Codes with Computing Devices
                                                                                                                        400
      304 y         Associate Location information Source with an Object                                          *
                                                                                                                      1915)




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                   Associate Object Location Information Access Code with
                          Object Location Information Relating to the Object
                    CHOCHOWCACHOKEA
              Convey ObjectLocation Infomation to Computing Devices
              Based Upon Object Location Information Access Code and
                                                           User identification Codes

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      308 y Define a base de location de carte bine Location
               Define an Object Location Event Relating Object Location

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                                      Information to User- defined Zone Information
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      310 ml Determine an Occurrence of the Object Location Event
                                                  ADOROSAKKAAKKAMANetissuu
      312          Convey Object Location Event Information to Computing
                              Devices Based Upon User Identification Codes


                                                                             FIG . 4




                                                                                                                                 Exhibit C
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              Associate User Identification Codes with Computing Devices
                             OCHOANGDINOO




        304           Associate Location Information Source with an Object
                                                                                  KOCKICISI


                                                                                                                                             4200500


        306                                 views
                                                    Define a User- defined Zone

        502        Associate a User-defined Zone Information Access Code
                          with Corresponding User- defined Zone Information
                     CONOCIDO



          4            Convey User-defined Zone Information to Computing
                    Devices Based Upon a user-defined Zone Information
                                    Access Code and User Identification Codes


       so y Patronen
               Define an Object Location EventRelating Object Location
                                    Information to User -defined Zone Information                            ACACACACINTORNOVIOIKO   KO




        310- Deter  Determine an Occurrence of the Object Location Event
               matiniamaininsomma                  na ROUMANAKALA PAKA IAN                    * ****HOTEL HOOKA
       312         Convey Object Location Event Information to Computing
                                Devices Based Upon User identification Codes
                                     CHOCOKOKOON                   *




                                                                             FIG . 5




                                                                                                                                                      Exhibit C
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       302 y Associate User Identification Codes with Computing Devices
                                                  COOKIA

                         Associate Location Information Source with an Object
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       308
                       Define an Object Location EventRelating Object Location
                           ****
                                  Information to User- defined Zone Information
                                             * ** * *                                                      ORIO




      602              Associate Object Location Event Information Access Code
                         with ObjectLocation Event Information Relating to the
                                         Object Location
                                          OLAR
                                                           Event
                                                     20IDOOOOOOOORROS



       310              Determine an Occurrence of the Object Location Event
      604 v            Convey Object Location Event Information to Computing
                       Devices Based Upon Object Location Event Information
                                  Access Code and User identification Codes




                                                              FIG . 6




                                                                                                                            Exhibit C
                                                                                                                         Page 8 of 36
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                     Associate User Identification Codes with Computing Devices
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                                 Associate Location Information Source with an Object
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          402              Associate Object Location Information Access Code with
                                    Object Location Information Relating to the Object                     ecce                CHOROBCECECECHO0000   L   s




          404 -        Convey Object Location Information to Computing Devices
                       Based Upon Object Location Information Access Code and
                                                                    User identification Codes
          306            YYYYYODIOCIERASAVENIDA
                                                                 Define a User-defined Zone
                                                                                 4      029



                                                                                                          CHOKIRCHEN
          502             Associate a User-defined Zone Information Access Code
                                  with Corresponding User-defined Zone Information

          504                 Convey User- defined Zone Information to Computing
                             Devices Based Upon a User - defined Zone Information
                                  Access Code and User Identification Codes
                                             *** ***              wwwwwwwwww                    S      ACROREKTORICA   00000




                        Define an Object Location Event Relating Object Location
                              information to User-defined Zone Information
                                                               LAMAMARANAN




                       Associate Object Location EventInformation Access Code
                             with Object Location Event Information Relating to the
                                             Object Location Event

         50                 Determine an Occurrence of the Object Location Event
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                                 OMÓRKOSSOKKU**KKAKAKKU        wwwwww
         604              Convey Object Location Event Information to Computing                                                                                7 FIG . 7
                          Devices Based Upon Object Location Event Information
                                          Access Code and User identification Codes




                                                                                                                                                                               Exhibit C
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            Application Launch Screen
                        Programa            22 = 783
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                                   Messaging       Explorer

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                                    FIG . 8
                       Main Screen
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                                                Contacts


                              Groups
                           Buttons
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                              Contact info @ ddiem .com

                                    FIG . 9


                                                                                                  Exhibit C
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               Configuration Screen
                                    start
                                                                                     1000
                                   2222                              Logo


                                   log . log
                                        COM
                                   www . perdiendo .com


                                                      Log oft        Close

                                               FIG . 10
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                   A




                                                          Setup
                   AL N                                                  Close
                                                FIG . 11


                                                                                                            Exhibit C
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                   Tracking Setup Screen
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                                 Pong Rate (100 bydes ear)
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                                 O is mn .
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                                SGPGG4 ,203206 ,056, 342.6875
               1202             GOSSOS
                                    Files       Esa                    Close



                                            FIG . 12a

               Log File Selection Screen
                                Perniemca GPSG            V            9: 27
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                                            FIG . 12b


                                                                                                     Exhibit C
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                        Map Screen
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                                                 **


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                                      FIG . 13a
                        Data Screen
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                      MAP DATA ZONE SIZE ABOUT Cosell
                                       FIG . 13b

                                                                                          Exhibit C
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                      Zone Screen
                       TRACKING
                                                                             1306

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                     OX4 (10 m .)
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                   PAF DATA ZONE szerou aos |
                           FIG . 130


                                                                                               Exhibit C
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                     About Screen
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                             FIG . 13e




                                                                                    Exhibit C
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                                           FIG . 15

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                           Camera Screen
                                                                          11:23
                           Name 12586725292222
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                        FIG . 16
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                                                           FIG . 17


                                                                                                                          Exhibit C
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                                                             FIG . 18




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                                                                                         FIG . 19



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                    GPS Tracking and Zone Data                                              #
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                                                  FIG . 20




                                                                                                           Exhibit C
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                                                                 FIG . 21




                                                                                                                  Exhibit C
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                                                     Zone-based Logging                                                     2200

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                                                                                    FIG . 22




                                                                                                                                             Exhibit C
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                           Picture Associated with Location 2300                                               99988
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                                                                       FIG . 23




                                                                                                                                                         Exhibit C
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        SOFTWARE -BASED MOBILE TRACKING                                 zone Upon meeting the condition , information regarding the
      SERVICE WITH VIDEO STREAMING WHEN                                 event is conveyed to the at least one of the one or more users .
                 EVENTS OCCUR                                            The one or more users can access at least one of the location
                                                                         information , information relating to the zone or conveyed
                 FIELD OF THE INVENTION                              5 information regarding the event using one or more access
                                                                        control codes. The access control codes can be configured to
     The present invention relates generally to a system and            require multiple levels of access control.
  method for defining an event based on the relationship of an             Thus , the present invention relates to a system and method
  object location and a user- defined zone and managing the             for defining events that are correlated with the location of
  conveyance of information related to such object location 10 one or more objects to one or more zones . Hereinafter, such
  event among computing devices . More particularly, the events are referred to as object location events. The object
  present invention relates to defining an object location event        location events can be defined at an application level or a
  based on the location of an object relative to a user -defined        user level. The system and method of the invention also
  zone and managing the conveyance of object location event conveys information relating to the object location event to
   information among computing devices based on user iden - 15 one or more computing devices, which , in an exemplary
  tification codes associated with the computing devices.      embodiment of the invention , are associated with corre
                                                               sponding identification codes of one or more users. For
            BACKGROUND OF THE INVENTION                        example , association of a user identification code with a
                                                                 computing device can be an embedded association ( e. g .,
     Various sources of information are available for deter - 20 hard -wired ) or it can be based on a user log - in at the
  mining the location of an object. Such location information            computing device . In one embodiment, the object location
  sources include Global Positioning System (GPS) receivers, event relates to information about a location of an object and
  radars , radio frequency identification (RFID ) tags , and vari- information about a zone that is defined by a user. The
  ety of other technologies that can be used to determine information about the location can be derived from a loca
  location information pertaining to an object, which might be 25 tion information source that is associated with the object.
  moving or stationary. Such location information has been              Under this embodiment, the object location event occurs by
  used to track vehicles , packages , people , etc . and to enable      satisfaction of a defined relationship or condition between
  a variety of location aware applications including location            the object location information and user- defined zone infor
  aware toll systems, material handling and supply chain                mation . Once the condition is satisfied , information corre
  management systems, and the like . Thus far, such location 30 sponding to the occurrence of the object location event is
  aware applications have mostly involved computing devices              conveyed to a computing device . In one embodiment of the
  specifically programmed to provide location -aware func -              invention , the information is conveyed to the computing
  tionality in a usefulbut predetermined manner. For example ,          device in accordance with a corresponding user identifica
  scanners have been used as sources of information to convey           tion code .
  the locations of shipping containers as they progress through 35 In one exemplary embodiment, a user can associate a
  various stages en route to a destination , where the specific   source of location information with an object and define a
  location of a given shipping container on a shipping dock or zone. Under this arrangement, any other authorized user that
  in a cargo hold can be accessed at any given time                has access to information about location of an object and a
     Technological advancements in computing devices and                user -defined zone can also define an object location event for
   information networks, in particular wireless networks, have 40 that zone and receive information about occurrence of the
  enabled users of a variety of computing devices such as          event. Under another arrangement, only the user who defines
  smart phones , personal digital assistants (PDAs), laptop a user -defined zone can define an object location event for
  computers , etc . to access and utilize information in more and that zone .
  more locations. For example , such advances now allow               In a further embodiment , an access code is associated with
  users to wirelessly check their email or to surf the Internet 45 information about the location of an object. Under this
  from anywhere that is covered by an appropriate data                   embodiment, the object location information is conveyed to
  service . Some computing devices have become equipped                  the computing device based upon the user identification
  with technologies that integrate various sources that provide          code and an access code associated with the location infor
   information about the location of the devices . For example ,        mation . Under another arrangement, only the user that
  known mobile devices have been equipped with GPS receiv - 50 associates a source of location information with an object
  ers , which enable the users to know where they are located            can associate the access code with the object location
  at any given time.                                                     information as determined by the source of location infor
     As sources that offer location information become more mation .
  useful in computing devices and within information net .     In yet another embodiment, an access code is associated
  works , there is a need for a system and method that 55 with the user-defined zone information . Under this embodi
  correlates events with location of objects and conveys ment, the user- defined zone information is conveyed to at
  information about such events to computing devices.                   least one of the computing devices based upon a correspond
                                                                        ing user identification code and an access code for the
              SUMMARY OF THE INVENTION                                  user- defined zone information . Under another arrangement ,
                                                                     60 only the user that defines a user -defined zone can associate
     Briefly, the present invention relates to conveying infor           the access code with the user -defined zone information .
  mation relating to an object to one or more users. The                   In still another embodiment, an access code is associated
  invention requires defining a zone by the one or more users .         with information about an object location event. Under this
  An event is also defined in terms of a condition related to a         embodiment, the information about the object location event
  relationship between an object location and the zone . The 65 is conveyed to at least one of the computing devices based
  condition can relate to entry by the object into the zone , exit upon a corresponding user identification code and an access
  by the object from the zone, or proximity of the object to the        code for the object location event information . Under


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  another arrangement, only the user that defines the object            FIG . 12b illustrates an exemplary Log File Selection
  location event can associate the access code with the object       Screen of the Location and Tracking software used to select
  location event information .                                       a log file for storing GPS information ;
                                                                       FIG . 13a illustrates an exemplary Map Screen of the
        BRIEF DESCRIPTION OF THE DRAWINGS                          5 Location and Tracking software used to display a map
                                                                     received from a map server ;
     The present invention is described with reference to the          FIG . 13b illustrates an exemplary Data Screen of the
  accompanying drawings. In the drawings, like reference             Location and Tracking software used to manage conveyance
  numbers indicate identical or functionally similar elements     of tracking and zone information to specific users based on
  Additionally, the left-most digit (s ) of a reference number 10 access codes;
  identifies the drawing in which the reference number first        FIG . 13c illustrates an exemplary Zone Screen of the
  appears.                                                        Location and Tracking software used to define user -defined
     FIG . 1 illustrates an exemplary information - sharing envi  zones;
  ronment including computing devices having wired or wire                       ustrated ??
  less connectivity to the Internet and a map server, and 15 Location and Tracking software used to manage the size and
  various objects for which location information sources pro -       other characteristics of a displayed map ;
  vide object location information ;                                    FIG . 13e illustrates an exemplary About Screen of the
     FIG . 2 illustrates an exemplary map retrieved from the Location and Tracking software used to provide a notice
  map server of FIG . 1 via the Internet that includes an icon       concerning Tracking Privacy Issues, software version infor
  indicating a location of a vehicle relative to three user - 20 mation , and copyright information ;
  defined zones.                                                        FIG . 14 illustrates an exemplary Group Screen of the
     FIG . 3 illustrates a first embodiment of a method of the Location and Tracking software used to manage information
  invention where object ject location event information is con
                                                            con -    corresponding to groups of contacts ;
  veyed to computing devices based upon user identification            FIG . 15 illustrates an exemplary Contact Screen of the
  codes;                                                          25 Location and Tracking software used to manage information
     FIG . 4 illustrates a second embodiment of a method of the corresponding to contacts ;
  invention where object location information is conveyed to           FIG . 16 illustrates an exemplary Camera Screen of the
  computing devices based upon an object location informa- Location and Tracking software used to manage pictures to
  tion access code and user identification codes, and object be associated with contact location information ;
  location event information is conveyed to computing 30 FIG . 17 illustrates an exemplary Big Buttons Screen of
  devices based upon user identification codes ;               the Location and Tracking software used to provide easy
     FIG . 5 illustrates a third embodiment of a method of the access to key application commands while walking or
  invention where user -defined zone information is conveyed         driving;
  to computing devices based upon a user -defined zone infor -          FIG . 18 illustrates an exemplary Map Viewer Web Page
  mation access code and user identification codes , and object 35 used for displaying maps and other information conveyed by
  location event information is conveyed to computing the Location and Tracking software ;
  devices based upon user identification codes;                        FIG . 19 illustrates an exemplary Contact Viewer Web
    FIG . 6 illustrates a fourth embodiment of a method of the Page used for displaying contact information conveyed by
  invention where object location event information is con -    the Location and Tracking software ;
  veyed to computing devices based upon an object location 40 FIG . 20 illustrates an exemplary web page -based display
  event information access code and user identification codes ; of a map overlaid with GPS tracking and zone information
    FIG . 7 illustrates a fifth embodiment of a method of the   conveyed by the Location and Tracking software ;
  invention where object location information are conveyed to     FIG . 21 illustrates an exemplary web page for creation of
  computing devices based upon an object location informa-           a zone used by the Location and Tracking software ;
  tion access code and user identification codes, user -defined 45 FIG . 22 illustrates an exemplary map displayed on a web
  zone information is conveyed to computing devices based page depicting logging of contact location information while
  upon a user -defined zone information access code and user         a contact is within a zone and logging of contact location
  identification codes , and object location event information is information when a contact enters or leaves a zone; and
  conveyed to computing devices based upon an object loca -         FIG . 23 illustrates an exemplary map displayed on a web
  tion event information access code and user identification 50 page depicting a picture associated with a location of a
  codes ;                                                            contact.
     FIG . 8 illustrates an exemplary PDA Application Launch
  Screen used to begin execution of a Location and Tracking                     DETAILED DESCRIPTION OF THE
  software as implemented according to the present invention ;                              INVENTION
    FIG . 9 illustrates an exemplary Main Screen of the 55
  Location and Tracking software from which additional                  The present invention will now be described more fully in
  screens are accessed ;                                         detail with reference to the accompanying drawings, in
     FIG . 10 illustrates an exemplary Configuration Screen of which the preferred embodiments of the invention are
  the Location and Tracking software used to manage infor -      shown . This invention should not, however, be construed as
  mation corresponding to the user of the PDA ;               60 limited to the embodiments set forth herein ; rather, they are
     FIG . 11 illustrates an exemplary GPS Screen of the         provided so that this disclosure will be thorough and com
  Location and Tracking software used to manage a GPS           plete and will fully convey the scope of the invention to
  receiver that is associated with a user 's PDA via a Bluetooth     those skilled in the art. Like numbers refer to like elements
  connection ;                                                  throughout.
     FIG . 12a illustrates an exemplary Tracking Setup Screen 65 The present invention provides a system and method for
  of the Location and Tracking software used to control the     defining an event that relates to a location of an object and
  rate at which GPS data is polled ;                            managing the conveyance of related information among


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  computing devices associated with corresponding user iden -         environment, and so on . A family can set up its own
  tification codes. In accordance with the present invention , an      information - sharing environment and an individual may set
  information -sharing environment consists of a computing            up his or her own information -sharing environment. As
  network including a map server and computing devices .              such , each information -sharing environment can be admin
  Objects associated with sources of location information 5 istered so as to manage conveyance of information among
  provide object location information comprising one or more          computing devices based on user identification codes . Man
  coordinates. In an exemplary embodiment, the coordinates            agement of users , groups, domains , and publicly available
  correspond to one or more determined locations of the               object location information sources is described in greater
  objects within an established coordinate system . In the            detail below .
  system and method of the present invention , an object can 10 Referring to FIG . 1 , information - sharing environment 100
  comprise any device , thing, person or entity that can be includes computing network 102 having wired and wireless
  located or tracked . A user of a computing device can retrieve network links 104 , 106 and connectivity to the Internet 108
  a map , for example , from a map server and define a            that provides access to a map server 110 and map informa
  user - defined zone on the map . According to one aspect of the tion 112. Also shown are objects associated with sources that
  invention , an object location event is defined based on a 15 provide object location information . Location information
  relationship between one or more object locations and one or        sources are shown including Global Positioning System
  more user -defined zones , where the occurrence of the object       (GPS ) satellites 114a and GPS receivers 114b . Examples of
  location event is determined when a condition associated            various types of computing devices are shown interfacing
  with the relationship is satisfied . Thus, an occurrence of the     with the computing network 102 including a PDA 116a ,
  object location event is determined based on object location 20 PDA having a GPS receiver 116b, a wireless smart phone
  information and user -defined zone information . In other           118a , a wireless smart phone having a GPS receiver 118b , a
  words , an object location event is determined based on the         laptop computer 120a , a laptop computer having a GPS
  location of an object relative to a user-defined zone. More         receiver 120b , a personal computer 122a, a personal com
  generally, an object location event may be determined based         puter having a GPS receiver 122b , and a digital television
  on the location ( s ) of one or more objects relative to one or 25 124 . Typically, one or more of the computing devices could
  more user -defined zones . Upon occurrence of the object           be used as a control station . FIG . 1 also illustrates various
  location event, object location event information is con -          examples of objects (e .g ., devices, things, people, vehicles,
  veyed to at least one computing device based upon a                 animals, etc .) that can be associated with location informa
  corresponding user identification code(s ) associated with the tion sources enabling object location information to be
  computing device ( s ).                                       30 conveyed to computing devices. Examples of such objects
      The present invention can be implemented in a variety of        depicted in FIG . 1 include a fireman 126a, semi truck 126b ,
  information -sharing environments . The sharing of informa-         crate 126c, car 126d , cow 126e, woman 126f, soldier 126g ,
  tion may be managed among a small number of users such              child 126h , dog 126i, and a building 126j. Generally , any
  as a family or group of friends, or among a very large              object can be associated with a location information source
  number of users such as among employees of very large 35 in accordance with the present invention including the
  business , or among a worldwide user base such as a might computing devices themselves . Such objects may be out
  be provided via an Internet service . Furthermore , informa doors or indoors and may be included within another object
  tion - sharing environments may involve information -sharing        such as , for example , a crate 126c within a semi truck 126b .
  environments within information -sharing environments .             Such objects may be mobile or fixed . At any given time,
  That is , one or more smaller information - sharing environ - 40 mobile objects may be moving or stationary . An object may
  ments may overlap or coexist independent of each other              located in any place , or be any thing. Examples of a place ,
  within one or more larger information - sharing environ -           or thing, in accordance with the invention include a restau
  ments .                                                             rant, gas station , destination , airport, hospital, first aid sta
     In one embodiment, one or more administrators may be             tion ,hazardous location , vehicle repair shop , shopping mall,
  given privileges to configure the information - sharing envi- 45 museum , park , residence, business , train station , bus station ,
  ronment. Such configuration could include specifying autho -        post office , bank , police station , first station , department
  rized users of the environment and their access privileges ,        store, or storage bin .
  etc . Such configuration can also define groups of users as            Although FIG . 1 depicts a wireless network tower to
  part of an established organizational structure associated          represent wireless connectivity, any of various well known
  with the information - sharing environment . Pre -defined 50 forms of networking technologies such as WI-FI, Wireless
  zones comprising domains can be configured along with               USB , cellular, Bluetooth , optical wireless , etc. can be used
  events that define relationships between object locations           alone or in combination to provide the wired and/ or wireless
  relative to such domains . Moreover, sources of publicly            connectivity among the computing devices . Furthermore ,
  available object location information , such as weather track -     any of various other location information sources can be
  ing systems; can also be configured for use with the system 55 used in place of or in combination with GPS to provide
  and method of the present invention . Because smaller infor-   object location information . Alternative location informa
  mation -sharing environments can exist within larger infor -        tion sources include cellular network based wide area loca
  mation - sharing information environments , various levels of       tion systems, infrared -based location systems, ultrasound
  administrator privileges can exist. For example , an Internet       based location systems, video surveillance location systems,
  service based on the present invention can be provided and 60 RF signal- based location systems such as WLAN -based
  administered such that anyone having access to the Internet         location systems, ultra wideband location systems, and near
  can purchase the service and be an authorized user. A                field electromagnetic ranging location systems. GPS sys
  purchaser of the service can set up a company -wide infor-          tems may be augmented using space based augmentation
  mation -sharing environment within the larger world -wide          systems (SBAS ) and /or local area augmentation systems
  information -sharing environment that includes company 65 (LAAS ), radar- based information sources, and a data file .
  employees , affiliates , Board members , guests , etc . A division GPS systems can be outdoor GPS sources or indoor GPS
  within a company may set up its own information - sharing          sources. Alternatives to GPS also include GLONASS and



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  Galileo .Generally , any form of location information system           computing devices that are associated with the users having
  can be used that can provide a coordinate of an object                 access to the information as specified by the access code.
  allowing an icon indicating the object location to be depicted           Under another arrangement, an access code is assigned to
  on a map .                                                      information in the form of a user-defined access code (i.e.,
    In accordance with the present invention , the users of the 5 a password ) that a given user must have knowledge of in
  computing devices each have user identification codes that order to be granted access to the information . With this
  can be associated with the computing devices in order to               approach , the user associating the access code with infor
  manage the conveyance of information to the computing                  mation defines the user -defined access code and then con
  devices based upon the identity of the user and information        veys the user- defined access code to other trusted users to
  access privileges . Such user identification codes may be 10 which the user desires to have access to the information .
  managed by a control station or may be established based on        Those trusted users must enter the access code into their
  user unique user information . Such codes would typically          computing devices in order to be granted access to the
  include an identifier (e . g ., a user account
  un
                                                 name or user
                                          ccount na         iser     information .
  number ) and can be associated with one or more groups , and         Under still another arrangement, an access code specifies
  one or more information access privilege classifications, etc . 15 the individual users or groups having access to the infor
  For example , a given user may be included in a group                  mation to which the access code is associated provided a
  indicating members of a family, a company , a club , or an             given user knows the password . As such , the access code
  association . Similarly , employees of a company may belong            may specify one or more users and/ or one or more groups
  to one or more defined groups within the company (e .g .,              that can enter the appropriate password in order to access the
  Management, Engineering, Accounting, etc . ). Membership 20 information . With this approach , there are two conditions
  within a group may indicate the user can have access to                thatmust be met to gain access , being included on the access
  confidential information such as company proprietary infor-            list and having knowledge of the password allowing access
  mation or classified information such as the coordinates of            to information to be managed by changing the access list
  military assets on a battlefield . Access to confidential infor -      and /or changing the password .
  mation may also be based on an access privilege classifica - 25 Under yet another arrangement , an access code may
   tion , such as a security clearance level. In accordance with include a clearance classification code such as Proprietary,
  the invention , a user 's access privileges can change by              Confidential, Secret, Top Secret , etc . These access codes
  entering or leaving a domain , for example , the premises of          may also specify individual users or groups and may be used
  a shopping mall, a particular store within a shopping mall,            with passwords. For example , employees of a company
  a museum , a restaurant, an airport, etc . The use of domains 30 having at least a Secret clearance classification that know the
  in accordance with the present invention is described in         password are provided access to certain information . Gen
  greater detail below . Furthermore , user identification codes erally, many different variations of access code approaches
  are typically associated with other user information such as     can be used to practice the present invention .
  the user name, title , address information , email address,        FIG . 2 illustrates an exemplary map 200 retrieved via the
  phone numbers , etc . As such , user identification codes can 35 Internet from a map service provider, such as YAHOO !,
  be associated with computing devices and used to manage                displayed on a PDA or other computing device. Any map
  the conveyance of information among the computing                      available from any of various map providers via the Internet
  devices . Association of a given user identification code with         can be used in accordance with the present invention .
  a given computing device may be via a user login process               Referring to FIG . 2 , map 200 depicts an area including a
  whereby a user enters a user account name and password . 40 portion of Huntsville , Ala . alongside part of Redstone Arse
  Certain computing devices (e . g ., a PDA or smart phone) may n al, Ala . Shown on the map is an icon 202 that indicates the
  allow a user identification code to be embedded or pro - location of a car equipped or somehow associated with a
  grammed into a computing device ' s memory such that any       source of location information , such as GPS . The location
  user of the computing device is considered to be the user              information source determines the location of the car and
  owning the device .                                                 45 conveys the object location information to the computing
    In accordance with the present invention , access codes             environment to which the computing device displaying the
  can be associated with information to manage the convey -             map is interfaced .Most location information sources include
  ance of the information to computing devices . Specifically,          communications capabilities enabling them to convey object
  an object location information access code can be associated     location information . Also shown in FIG . 2 are three user
  with object location information . A user-defined zone infor- 50 defined zones 204 , 206 , and 208 . Such user -defined zones
  mation access code can be associated with user -defined zone           can be defined using various graphical techniques such as
  information and /or an object location event information               selecting a point and dragging to another point causing a
  access code can be associated with object location event               rectangular shaped zone (like 208 ) to be defined . Alterna
  information . These access codes can be used in various                tively , a point can be selected indicating the center of a
  ways . In one arrangement, an access code specifies the 55 circular zone and a dragging action made to define a range
  individual users and /or groups of users having access to the          of the circular zone ( like 206 ). Various other common
  information to which the access code is associated . Such an           drawing techniques such as free form drawing can be used
  access code would typically include specific user identifi -           to define a zone not having a basic shape (like 204 ).
  cation codes and /or group codes. For example, by a user F urthermore , non drawing techniques can be employed to
  logging into a computing device, a given user identification 60 define a user -defined zone including use of coordinates
  code is associated with the computing device . The user         stored in a database . For example , the perimeter coordinates
  identification code may also be associated with one or more            of a surveyed property that are stored in a database could be
  groups having corresponding group identification codes .               automatically used to define a user -defined zone in accor
  The user identification code and group identification code ( s )       dance with the invention .
  are compared to those included in the access code whereby 65             In accordance with the present invention, one or more
  a match would indicate the user is authorized to receive the           object location events can be defined relating a given
  information . As such , the information is conveyed to those           user -defined zone to the location of a given object or objects .



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  Occurrence of an object location event can result in gener -         ing and leaving the three user - defined zones and can be used
  ating relevant information (i.e., object location event infor        to indicate characteristics of movement including the speed
  mation ) or performing a function ( i.e ., object location event     of a vehicle .
  function ). The object location event function can include              FIG . 3 illustrates a first embodiment of a method of the
  generating a time/ date stamp, send an email , place a call , 5 invention where object location event information is con
  sound an alarm , etc . Thus, an object location event in             veyed to computing devices based upon user identification
  accordance with the invention can require the performance            codes. Referring to FIG . 3 , a first embodiment of a method
  or control of a function based on an object location relative        300 of the invention consists of six steps 302-312 . The first
  to a user -defined zone. An object location event can , for          step 302 is to associate user identification codes with com
  example , be defined to occur when a specific object or any 10 puting devices. The association can be an embedded asso
  one or more objects enter, leave , or are within a defined           ciation, for example, programming the user identification
  proximity of a user -defined zone. An object location event          code in the memory of the computing device , or it can be
  may also be defined to occur periodically as long as an              accomplished via a log - in process at the computing devices
  object is outside a user - defined zone or inside a user-defined using the user identification codes . The second step 304 is to
  zone. Alternatively , an object location event may be defined 15 associate a location information source with an object. Such
  to occur when the location of an object is determined to be          association may involve equipping or attaching the object
  within a given proximity of a user - defined zone , for              with or to the source of location information . A third step
  example , within 500 feet of a user- defined zone correspond  306 is to define a zone. The zone can be defined by a user
  ing to the grounds of a school, a shopping mall, a building , at any time. A fourth step 308 defines an object location
  an army base , etc . An event may also be defined to occur 20 event in termsof a relationship between information relating
  when one or more objects or specific objects have entered or         to the object location and user - defined zone . The fifth step
  exited one or user -defined zones or specific user -defined          310 is to determine an occurrence of the object location
  zones .                                                              event for example by detecting entry into , exit from or
     Referring again to FIG . 2 , an example scenario is proximity with the user-defined zone . A sixth step 312 is to
  described relating the location of the vehicle 202 to the three 25 convey object location event information to computing
  user - defined zones 204 , 206 , and 208 . The exemplary sce -     devices based upon the user identification codes, for
  nario involves a mother desiring to track the location of a        example , by sending an e -mail. The step 312 can also
  teenage daughter while she drives the vehicle 202 . The            involve performing a function such as generating an alarm .
  vehicle 202 is equipped with a location information source            In accordance with one embodiment of the invention , any
  ( e . g ., a GPS receiver ) and is configured to transmit the 30 user can associate a source of location information with an
  location of the car at some data rate ( e . g., transmits location   object, define a user -defined zone, and define an object
  every 5 seconds) when the car is powered on (i. e ., car key         location event. As such , in relation to the example scenario
  is in the on position ). The mother sets an object location          of FIG . 2 , steps 304 - 308 ofmethod 300 are used by the user
  information access code such that only the mother, specifi -          i.e ., a mother ) to associate a GPS device with her daughter ' s
  cally, a PDA or other computing device used by the mother, 35 vehicle and define three user-defined zones corresponding to
  has authorized access to the object location information of          the ballpark parking lot, restaurant, and university library .
  the vehicle 202 . The mother and daughter discuss her                The user can also define object location events in terms of
  scheduled activity for the day and the corresponding travel          conditions that relate to entering into , leaving from or being
  among different places the daughter plans to go . According          in the proximity of the three user-defined zones. As stated
  to the daughter ' s schedule , the daughter is to attend a 40 above, upon the occurrence of the object location events ,
  softball game at a localballpark , have lunch with friends at        information can be conveyed to the mother ' s computing
  a local restaurant, and then go to a library on the campus of        device via emails . Occurrence of event can also result in
  a local university to do research for a paper.                       performance of certain functions , e .g ., causing the mother 's
     After discussing the daughter 's plans for the day, the           PDA to beep .
  mother, using a PDA , retrieves a map and defines the three 45 In addition to or alternatively to the event information ,
  user - defined zones relating to three locations the daughter is object location and /or zone information can be conveyed to
  supposed to be at during the day . Specifically , the mother         the computing devices based on user identification codes,
  creates the three user - defined zones 204 , 206 , 208 corre -       which comprise a first level of access control. The convey
  sponding to the ballpark parking lot, restaurant, and univer -       ance of any one or combination of the foregoing informa
  sity library , respectively , and defines object location events 50 tion , i. e ., location , zone and / or event , can be to the same
  for each user-defined zone. For each of the three user               users or groups or different users or groups . A second , third ,
  defined zones 204 , 206 , and 208 , the mother defines an            or additional layers of access control can also be applied to
  object location event where the mother will receive an email         any one or combination of the location , zone and /or event
  indicating the occurrence and time of the object location information using corresponding access codes as further
  events , which correspond to when her daughter ' s car enters 55 described below .
  or leaves any of the three user- defined zones . The mother        Referring to FIG . 4 , another embodiment of a method 400
  defines each of the three " leaving user- defined zone' object       of the invention consists of six steps 302 - 312 of the first
  location events such that when they occur they cause her             method 300 along with two additional steps 402 , 404 . As
  PDA to make a sound ( e. g ., beep ). The user -defined zones        with the first method 300, the first two steps 302 , 304 of
  and defined object location events allow themother to know 60 method 400 associate user identification codes with com
  when the daughter has safely arrived at the three places the         puting devices and associate a source of location informa
  daughter is to go that day. Furthermore , when the PDA               tion with an object . With method 400 , however , the added
  beeps, the mother knows the daughter is in transit and can           two steps 402 , 404 associate an access code with the object
  view the displayed map on the PDA to watch the icon             location information and convey the object location infor
  indicating the location of the car as it travels between the 65 mation to computing devices based upon the access code of
  user -defined zones or to home. The emails received based on         the object location information and user identification codes.
  the defined events provide a record of the daughter 's enter -       The final four steps 306 -312 ofmethod 400 are the same as



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  those of method 300 , including conveying object location         to the user -defined zone information is enabled to define an
  event information to computing devices based upon user            object location event relating object location information to
  identification codes .                                      the user -defined zone information . Thus, under one arrange
     Thus, FIG . 4 illustrates an embodiment where the objectm ent, only the user who defines a user - defined zone can
  location information can be accessed by those users that 5 define an object location event relating to the user -defined
  have knowledge of the access code of the object location          zone, while under another arrangement, any user (s ) having
  information . Under this embodiment, the user can give the        access to user - defined zone information can define an object
  access code to other trusted users for accessing the location     location event relating to the corresponding user -defined
  information . Those having the knowledge of access code for       zone .
  the location information may or may not have access to other 10     FIG . 6 illustrates a fourth embodiment of a method of the
  information such as the zone or event. Alternatively, users       invention where object location event information is con
  may be granted access to the object location information          veyed to computing devices based upon an object location
  based on the access code without having knowledge of the          event information access code and user identification codes.
  access code.                                                 Referring to FIG . 6 , a fourth embodiment of a method 600
     In accordance with another exemplary embodiment, any 15 of the invention consists of five steps 302 -310 of the first
  one user can associate a location information source with an method 300 along with two additional steps 602 , 604 . As
  object, define a user -defined zone, and define an object with the first method 300, the first four steps 302 , 304 , 306 ,
  location event. The user that associates a location informa-      308 ofmethod 600 associate user identification codes with
  tion source with an object can also associate an access code      computing devices , associate a location information source
  with the object location information provided by the source . 20 with an object, define a user -defined zone, and define an
  As such , in relation to the example scenario of FIG . 2 , the    object location event in terms of a relationship between
  mother can facilitate the conveyance of the object location       object location information and user-defined zone informa
  information to another trusted user, who has knowledge of         tion . With method 600 , however, step five 602 associates an
  the access code , such as the father of the daughter. The         object location event information access code with the
  mother may or may not allow conveyance of the zone or 25 object location event information relating to the object
  event information to the father. Alternatively , a user may be    location event. After step six 310 determines the occurrence
  granted access to the object location information based on        of an object location event, step seven 604 conveys object
  the object location information access code without having        location event information to the computing devices based
  knowledge of the access code.                                     upon an access code for the object location event informa
    Referring to FIG . 5 , a third embodiment of a method 500 30 tion and user identification codes. Thus, by using the object
  of the invention consists of six steps 302 - 312 of the first     location event information access code , the mother could
  method 300 along with two additional steps 502 , 504 . As         enable both parents to receive the object location event
  with the firstmethod 300 , the first three steps 302, 304 , 306   information corresponding to the object location events
  ofmethod 500 are to associate user identification codes with      defined by the mother. In other words, both parents could
  computing devices, to associate a location information 35 receive emails indicating when the daughter entered or
  source with an object , and to define a user-defined zone . exited one of the three user -defined zones . In accordance
  With method 500 , however, the added two steps 502 , 504          with a preferred embodiment of the invention , the user that
  also associate an access code with the user-defined zone          defines object location events can also associate access code
  information . As a result, zone information can be conveyed       for information that correspond to object location events. By
  to the computing devices based upon the access code for the 40 also associating object location event information access
  user- defined zone information and user identification codes .    codes with the defined object location events , themother can
  The final three steps 308- 312 ofmethod 500 are the same as       enable the object location event information to be conveyed
  those of method 300 , including conveying object location         to another user with knowledge of such access code, such as
  event information to computing devices based upon user    the father of the daughter. Thus, with the method 600 in
  identification codes. The event information under this 45 relation to the example of FIG . 2 , the father would receive
  embodiment however may or may be conveyed to those                the object location event information but may or may not
  users with knowledge of the user-defined zone information         receive object location information or user -defined zone
  access code . As such , in relation to the example scenario of     information .
  FIG . 2 , the method 500 enables the user (i.e ., the mother) to      In an alternative arrangement, steps 502 and 504 of
  associate a GPS device with her daughter' s vehicle , to define 50 method 500 could also be used with method 600 whereby a
  three user-defined zones , and to define object location events   user (e .g ., the mother) also associates an access code with
  associated with the three user -defined zones causing, upon       the user -defined zone information for conveyance to another
  the occurrence of the object location events , emails to the      user with knowledge of such access code ( e . g ., the father ).
  sent to the mother and her PDA to beep . By also associating      Under such an alternative arrangement, the object location
  user -defined zone information access codes with the three 55 event can be defined by any user (s ) having access to the
  defined user - defined zones, the mother also enables the         user -defined zone information or only the user that defined
  user - defined zone information to be conveyed to another         the user -defined zone. In either case , only the user that
  user with knowledge of the access code , such as the father       defines an object location event can associate an object
  of the daughter.                                                  location event information access code with object location
    In a further embodiment, steps 402 and 404 of method 60 event information corresponding to the object location
  400 could also be used with method 500 , whereby the user event.
  (i.e., the mother ) also associates an object location access        FIG . 7 illustrates a fifth embodiment of a method of the
  code with the object location information such that both the      invention where object location information is conveyed to
  mother and father receive the object location information        computing devices based upon an object location informa
  allowing both parents to see the icon indicating the position 65 tion access code and user identification codes, user - defined
  of the daughter' s car in relation to the three user -defined    zone information is conveyed to computing devices based
  zones . In an alternative embodiment, any user having access      upon a user -defined zone information access code and user


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  identification codes, and object location event information is            lished to accommodate the coordinate system used by any
  conveyed to computing devices based upon an object loca -                 suitable map service . A typical coordinate system is known
  tion event information access code and user identification     as the latitude , longitude , and height system . Alternative
  codes. Referring to FIG . 7 , in the method 700 , the steps of coordinate systems include the Earth Centered , Earth Fixed
  method 600 are again used with the addition of the two steps 5 Cartesian (ECEF X - Y - Z ) coordinate system , Universal
  402, 404 of method 400 and the two steps 502 , 504 of           Transverse Mercator (UTM ) coordinate system , Military
  method 500 . With these additional four steps , when referring Grid Reference System (MGRS ), World Geographic Refer
  to the example of FIG . 2, the mother could associate object e nce System (GEOREF), Universal Polar Stereographic
  location information access codes and user -defined zone                  projection (UPS ), national grid systems, state plane coordi
  information access codes with object location information 10 nates, public land rectangular surveys, metes and bounds,
  and user - defined zone information , respectively, in such a             etc . A coordinate system may also be established corre
  way as to allow both parents to receive emails, beeps , and               sponding to a domain , for example , an office building or a
  view the movement of the daughter ' s car using their respec -            shopping mall. Additionally , one or more users may define
  tive PDAs.                                                        a coordinate system for example, making the location of a
     In accordance with the present invention , an administrator 15 user 's home or business or a user ' s own location the (0 ,0 )
  of an information -sharing environment maintains a database       reference point within an X - Y coordinate system . As such ,
  of user information for those having access to the informa        computing devices used in accordance with the invention
  tion - sharing environment. Such a database can be main                   may include means for translating between coordinate sys
  tained on a central or distributed control station that may be            tems. Coordinate systems may be based upon the location
  a company ' s computer server or on an individual' s personal 20 information source( s ) used . For example , a GPS receiver
  computer. Information maintained for a user typically                     location information source may be placed at a location , for
  includes a user account name and password and a user                      example the entry door of a building , and its GPS location
  identification code, and may include a variety of information             in latitude and longitude and height used as a (0 ,0 ,0 )
  about the user including the user' s name, address , phone                reference point for a coordinate system used inside the
  number( s ), email address( S ), company name, title , birth date , 25 building along with a second location information source
  etc . A user may be given access privileges to certain classes            such as UWB system better suited for indoor operation . As
  of information based on the user 's position or role within a             such , one or more coordinate systems established by an
  company or family , a Government security clearance , and /or             administrator or by a user of an information - sharing envi
  for other reasons deemed appropriate for a given informa-                 ronment can be used to provide object location information .
  tion - sharing environment.                                          30      In accordance with the present invention , when a user
     An administrator can define one or more groups to which                associates multiple location information sources with an
  a given user can be associated . Groups may be defined in                 object, the user can determine whether or how the object
  accordance with an organizational structure or hierarchy. For             location information is used ( e . g ., combined ) . In particular,
  example, an administrator for an information - sharing envi               the user can determine how handoffs are to occur between
  ronment corresponding to a company may define groups for 35 location information sources such as switching among avail
  the various organizations within the company , such as legal,             able GPS satellites based on received signal strength or
  accounting, shipping, etc ., and for groups of users notbased             switching between a GPS and UWB system when a user
  on organization , such as executive , management, adminis                 goes indoors , which might be based on loss or degradation
  trative , exempt employees, non - exempt employees, etc.                  of a GPS signal. Handoff among location information
  After a group has been defined , the administrator can 40 sources can be based upon object location information .
  associate individual users with one or more of the defined                   In accordance with the present invention, a user that
  groups. Similarly, a parent administering an information                  associates an information location source with an object can
  sharing environment might define groups such as parents ,          determine how often object location information is updated .
  teenagers , children , drivers , and so forth . Information main - Under one arrangement, the user can determine the rate at
  tained for a group typically includes a group name and group 45 which object location information is provided . Under
  identification code, and may include a variety of information             another arrangement, object location information may be
  about the group including the group ' s address , phone num -             provided by the location information source at a certain rate
  ber , email address, web site , point -of-contact, etc . As such ,        which the user may select as the appropriate update rate or
  a user may be associated with one or more groups defined by               the user may select to update object location information
  an administrator of an information - sharing environment.            50 less often or to only maintain (or use ) the current object
     In accordance with the present invention , any user can                location information . Depending on whether object location
  define a group , for example , a group of friends, a study                information is being logged (i.e ., stored ) and /or conveyed to
  group , etc . Information for such user - defined groupsmay be other users, decisions concerning the update rate typically
  maintained in a central database or may be maintained on an    involve a tradeoff of available storage capabilities ( e .g ., in
  individual user 's computer. As such , knowledge of the 55 memory , to a physical storage media , etc .) versus granularity
  defined group my be available to other users of an informa-    of stored object location information and resulting accuracy
  tion -sharing environment or may bemaintained solely for an               of its display on a map . For example , object location
  individual user ' s benefit.                                              information stored in a log file once every 5 seconds would
     In accordance with the present invention , one or more                 allow a more accurate display of the movement of a vehicle
  location information sources can be associated with an 60 than object location information stored once per minute , but
  object to provide object location information consisting of a             the once per 5 second update rate requires twelve times the
  one or more coordinates corresponding to one or more                      storage space compared to the space required to store object
  determined locations of the object within an established                  location information once per minute . When only maintain
  coordinate system . In accordance with the invention , one or ing the current object location information , the same
  more coordinate systems can be established by an adminis - 65 memory / storagelocation can be repeatedly rewritten . The
  trator to describe object locations within an information                 selected update rate also determines how often the object
  sharing environment. The coordinate system may be estab                   location information can be conveyed to users . The user can


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  also determine whether a time stamp is associated with each         sharing environment receiving object location information ,
  update to indicate the actual time that an object was at a          zone information , and /or object location event information
  given location .                                                    that is to be displayed on themap . However, certain types of
    As previously described , the user that associates an infor       devices may be included in the information sharing envi
  mation location source with an object can also associate an 5 ronment that do not have the ability to receive or display a
   object location information access code with the object      map but that can receive useful object location information ,
  location information provided by the information source and         zone information , and/ or object location event information ,
  can thereby manage the conveying of the object location             nonetheless . For example , an expecting woman might define
  information to one or more users . As generally described           a zone around her hospital and an object location event
  above, an object location information access code can 10 causing her Blackberry to call her sister 's cellular telephone
  specify individual users or groups allowed access to the            when her car enters the zone telling her that she has safely
  object location information , may specify a password a user         arrived at the hospital to deliver her baby.
  must know to receive access to the object location informa             Various commonly used map display management tech
  tion, and/ or may include a clearance classification code . As      niques can be employed in accordance with the present
  such , the object location information access code determines 15 invention . For instance, an automatic zoom level selection
  which user ( s ) are conveyed the object location information    scheme may be established where the zoom level defaults to
     In accordance with the present invention , a user that the closest in level that can display all user - defined zones.
  associates an information location source with an object can   An automatic centering approach might set the center of the
  determine whether to store object location information in a    map to correspond to the location of a given object such as
  log file , which can be played back . The storage of object 20 the current location of a user or to the average location of
  location information to a log file may be the result of the multiple objects. Icons can be set to flash to indicate
  occurrence of a defined object location event. For example ,        movement or non -movement of an object. Colors of lines or
  a user could define two zones, a first object location event        areas indicating a zone may change when an object has
  that starts logging object location information when an            entered or exited the zone. Such map display management
  object exits the first zone, and a second object location event 25 techniques may be controllable by an administrator and / or
  that ends the logging of object location information when           by individual users.
  the object enters the second zone , thereby allowing the               In accordance with the present invention , a user can define
  movement of the object between the two zones to be                  a user-defined zone on a map that can then be used to define
  reviewed at a later time. Alternatively , object location infor -   an object location event relating object location information
  mation may be provided by a simulation . For example , 30 to user-defined zone information . A user -defined zone can be
  military officers could define battle plans based upon move         defined graphically using various techniques such as select
  ment of personnel and equipment having location informa-            ing a point and then dragging to another point to define
  tion sources into and out of defined zones and corresponding        either a rectangular shaped zone or a circular zone , drawing
  object location events. For training purposes, the movement         a zone by freehand to create a zone having an oddly shaped
  of personnel and equipment could be produced by a simu - 35 boundary , etc . As such , a user -defined zone has a boundary
  lation that inputs the object location information into the         that can be specified in accordance with an established
  information sharing environment allowing the military offi -        coordinate system . Typically user - defined zone information
  cers to react by changing plans , defining new zones , new          maintained for a user - defined zone includes a zone identi
  object location events , etc . Furthermore , object location   fication code and its boundary coordinates and may include
  information may be provided by emergency information 40 a zone name, a zone security level, a zone danger level, etc .
  sources , which might indicate the location of a fire, flood , Generally , a user that defines a zone can associate zone
  earthquake, bridge out, etc . or by weather information          information with the zone that can be conveyed to other
  sources, which might indicate the location of a severe           users .
  thunderstorm , tornado , winter storm , hurricane, etc.             As stated above , a user that defines a zone can also
     In accordance with the present invention , object location 45 associate a zone information access code with the user
  information and zone information is displayed on a map           defined zone information corresponding to the user - defined
  received from a map information source . In the example zone and can thereby manage the conveying of the user
  described previously in relation to FIG . 2 , a map from an            defined zone information to one or more users . As generally
  Internet map service was used that shows the streets of the described above , a user- defined zone information access
  city of Huntsville , Ala . at an appropriate scale for illustrating 50 code can specify individual users or groups allowed access
  the movement of the daughter among three locations in the to the user-defined zone information , may specify a pass
  city . Under one scenario , a user could zoom in or out from        word a user must know to receive access to the user-defined
  a street scale to a world scale .Generally , any electronic map     zone information , and /or may include a clearance classifi
  can be used in accordance with the present invention as             cation code . As such , the user-defined zone information
  appropriate to meet the informational requirements of the 55 access code determines which user( s ) are conveyed the
  users involved . Furthermore, multiple maps can be used             user -defined zone information .
  allowing different levels of scale as appropriate for the              In accordance with the present invention , a user can define
  requirements of the user (s ) involved in the sharing of            an object location event relating object location information
  information . A world map might be used , for example , that        to user- defined zone information . An object location event
  enables the locations of ships traveling to and from user - 60 may be something that is to occur whenever a specific object
  defined zones associated with various ports around theworld         enters and/or leaves a specific user -defined zone or an object
  to be displayed . A map of an amusement park might be used          location event may be something that is to occur whenever
  by a family visiting the park . A map may correspond to the         an object is or is not within a specified proximity of a
  inside of a building such as an office building or a shopping user -defined zone. Under one aspect the invention , the
  mall . A map may correspond to a battlefield . As such , map 65 occurrence of an object location event results in the con
  information corresponding to a given electronic map would       veyance of object location event information which includes
  be accessible to the computing devices of the information       object location information and user -defined zone informa



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  tion . Typically, object location event information maintained    near an escalator. One of them defines a user-defined zone on
  for a defined object location event includes an object loca       the mall's map corresponding to the sitting area and an
  tion event identification code and may include an object          object location event whereby the smart phones are sent an
  location event name, a time stamp , an object location event      email and caused to beep when any of the girls enters the
  security level, an object location event danger level, etc . 5 sitting area . They then split up to do some shopping. As they
  Generally , a user that defines an object location event can      walk about the mall , they walk near kiosks that recognize
  associate object location event information with the object       their presence within predefined areas within the mall (via
  location event that can be conveyed to other users . Under the smart phones ) and the kiosks provide personalized
  another aspect of the invention , the occurrence of an object specials such as, " Cindy. Your favorite pre -washed jeans are
  location event results in performance of a function , includ - 10 30 % off!” When one of the girls finishes shopping, and goes
  ing the control of a device such as a camera , motion sensor, to the sitting area , the other two girls are automatically
  garage door, web cam , lighting device, etc .                     emailed and their phones beep so that they know to go meet
     In accordance with the present invention , a user that their friend at the sitting area . With this example , the
  defines an object location event can also associate an object user -defined zone (i.e ., the sitting area ) and the object
  location event information access code with the object 15 location event (i. e ., the emails /beeps ) were not predefined as
  location event information corresponding to the object loca -     were the personalized specials provided by the kiosks as the
  tion event and can thereby manage the conveying of the            girls walked into predefined zones .
  object location event information to one or more users . As          Thus, a key distinction between the user- defined zones of
  generally described above, an object location event infor -       the present invention and predefined zones of previous
  mation access code can specify individual users or groups 20 location -aware applications is that the occurrence of object
  allowed access to the object location event information , may     location events and the management of the conveyance of
  specify a password a user must know to receive access to the      object location event information is determined by the user
  object location event information , and /or may include a         of the computing device and not by someone else . Take for
  clearance classification code . As such , the object location     example , a traveling salesman who wants to make his day
  event information access code determines which user ( s ) are 25 more efficient. In accordance with the present invention ,
  conveyed the object location event information .                prior to venturing out on the road, the salesman determines
     An important distinction exists between the user - defined   the nine sales calls he intends to make for the day and defines
  zones and object location events of the present invention ,     a user-defined zone about each sales call location . For each
  and predefined zones (or domains ) and predefined object user -defined zone he defines object location events related to
  location events that have previously been used in location - 30 the location of his car and each zone . The time he enters or
  aware applications . Predefined zones are used to provide         leaves each zone is to be recorded and , as he enters each
  location -aware functionality in a useful but predetermined       zone, his PDA is to automatically receive the latest, up -to
  manner where users of computing devices within the infor-         the -minute customer information maintained by his sales
  mation sharing environment do not define the domain (s ) or       office . For all but his last sales call he defines an object
  the events that occur as objects enter or leave the domains . 35 location event for when he leaves the corresponding zone to
  A predefined zone may be a house, a room , a business             email his next sales call to let them know that he 's en route
  perimeter, or a predefined area within a much larger area .       to their business . The email sent when leaving his fourth call
  One or more events involving the location of objects relative     specifically mentions he ' ll be arriving in about one hour that
  to the predefined zone is predetermined . The user of the         is to include a lunch break . He also defines an object location
  computing devices in prior art shared information environ - 40 event to email his wife letting her know the time when he
  ment participates but does not otherwise control or manage        leaves the zone corresponding to his last sales call thus
  the conveyance of information , which has all been prede -        allowing her to better plan her evening.
  termined . For instance , an alarm condition may be set when        In accordance with the present invention , information
  a person carries an object having a non - deactivated RFID        packages can be associated with object location information ,
  tag into a predefined zone about an exit to a store whereby 45 user -defined zone information , and / or object location event
  the alarm condition causes a recorded warning message to          information where an information package may include a
  play on a loudspeaker. A motion detector may detect a             picture , movie , audio file , document, and /or data file . The
  person walking through a predefined area near a building          information packages may include sensor information
  and turn on a light. Kiosks within a zoo may interact with        received from one or more sensors including those sensors
  individuals carrying tracking devices that enter predefined 50 that measure a characteristic of a physical environment, such
  areas about the kiosks. A super mall, itself a domain ,may be     as temperature , humidity , radioactivity, etc . and/ or sensors
  subdivided into its tenant stores or even departments within      that measure physical characteristics , such as heart rate ,
  stores, each a separate domain , and customers carrying           breathing rate , etc . At least one time stamp may be associ
  tracking devicesmay be offered specials as they move about        ated with an information package indicating the timing of
  the mall.                                                  55 the information included in the package , for example , the
     The user- defined zones of the present invention can be times when pictures were taken or sensor measurements
  defined by any user of the information sharing environment. were made. Under one arrangement , any user can associate
  User- defined zones can be used in conjunction with           an information package with object location information ,
  domains . For example , three teenage girls , each carrying a     user-defined zone information , and / or object location event
  smart phone with a location information source, go to a mall 60 information .
  where each of the three girls is a member of the mall' s             In accordance with the present invention , a user that
  interactive shopping club . As they enter the mall, their smart   associates an information package with object location
  phones automatically interface with the information sharing       information , user-defined zone information , and/ or object
  environment available within the mall. Their phones load the      location event information can also associate an information
  mall' s map and begin to indicate their locations within the 65 package access code with the information package and can
  mall . The girls decide to split up and meet later at their       thereby manage the conveying of the information package to
  favorite hangout spot within the mall , which is a sitting area   one or more users. As generally described above , an infor



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  mation package access code can specify individual users or           to ON , location packet are saved in individual records that
   groups allowed access to the information package, may               can be displayed as a ‘Mapped Track ' on a user 's PDA ,
  specify a password a user must know to receive access to the         Phone , or PC .
  information package, and /ormay include a clearance clas -             Current and prior user location information for one or
  sification code. As such , the information package access 5 more users can be conveyed to one or more users having
  code determines which user(s) are conveyed the information onaccess privileges to the user location information for display
  package .                                                       the one ormore users ' computing device( s ). The current
     Generally, the present invention enables any user of a position     of a given user is indicated by a black square . As
                                                               such , as the user moves , black squares indicate the current
  multiple user computing environment to define object loca 10 and  past location of the user thereby showing the movement
  tion events relating object location information to user
  defined zones and to manage to conveyance of object or Zones    path of the user.
                                                                           comprise geographic boundaries. If the GPS
  location event information based on user identification        receiver indicates a user ' s location passes over a zone
  codes . By also using access codes , multiple users can boundary
  collaboratively define and manage events and manage the 15 sentsen to ,e anor exit or entry alert is issued . A notification is
  conveyance of corresponding object location information , created . Different types of zones can be created with each
  user -defined zone information , and /or object location event zone type causing different types of information to be
  information among computing devices. Moreover, the pres - conveyed when a user 's location enters , exits, and/or is
  ent invention provides a system and method for generating within a zone . Codes associated with the zones determine
  user-defined location aware applications. Described below 20 which users receive location information . As such , the codes
  are four examples of such user -defined location aware associated with the zones correspond to the zone informa
  applications that are supported by the present invention .     tion access codes and object location event information
  Parole Officer Support                                         access codes described generally above . Specifically , by
     Parolees have associated with them a location information           sharing the Phone number and Code other users can ‘ load
  source . A parole officer can , on a case -by -case basis, identify 25 the zone into their device and it will respond with alerts to
   good locations and bad locations for parolees and define the defined addressees thereby enabling group tracking and
  object location events for entering such good and bad location                  management.
                                                                           FIG . 8 illustrates an exemplary PDA Application Launch
  locations causing him to be notified of a given parolee
  visiting the locations.                                                Screen 800 used to begin execution of the Location and
  Pet Tracking                                                        30 Tracking software . Referring to FIG . 8 , a PDA application
      A pet has associated with it a location information source . launch         screen 800 typically includes various icons corre
                                                                         sponding to programs available for execution such as the
   The pet owner defines zones that the pet is supposed to stay Location            and Tracking software icon 802 . When a user
  in ( e . g ., a yard ) and may define zones in which the pet is not selects the Location and Tracking software icon 802 , the
  allowed (e .g., a garden ). An object location event for leaving 3535 Location and Tracking software is executed .
  the yard sends an email and phones the pet owner .orAnleavingobject       FIG . 9 illustrates an exemplary Main Screen 900 of the
  location event for entering the garden might cause a siren to Location and Tracking software that appears when the
  go off to scare the pet.                                     software is launched . The Main Screen 900 is the primary
  Child Tracking                                               screen from which additional screens of the software are
     A child has associated with it a location information 40 accessed via the buttons labeled Maps, Contacts , GPS ,
  source . A parent identifies zones in the neighborhood where Config , Groups, Camera , and Buttons. Main Screen 900 is
  the child is allowed to play and explicitly not allowed to also the screen to which the user of the software is returned
  play . Object location events are defined where the parent is when closing screens associated with the buttons. The Exit
  emailed or otherwise notified as the child moves about the button ends execution of the software and returns the user to
  neighborhood .                                               45 the Application Launch Screen 800 .
  Hiking                                                             FIG . 10 illustrates an exemplary Configuration Screen
     Several hikers have associated with them location infor-       1000 of the Location and Tracking software used to manage
  mation sources . The hiking trail as indicated on a map           information corresponding to the user of the PDA (or other
  includes user- defined zones corresponding to key locations       computing device ). The user of the program accesses the
  along the route . Object location events are defined such that 50 Configuration Screen 1000 by selecting the Config button of
  each hiker receives an email on their smart phone whenever          the Main Screen 900. Configuration Screen 1000 provides
  another hiker enters or exits a zone .                              fields for entering a user data access code , user phone
      The present invention is implemented by a Location and          number, log file name, and a user domain or IP address . The
   Tracking software that executes on PDAs, telephones, and            screen is also used to toggle logging on and off .
  personal computers . The Location and Tracking software is 55          FIG . 11 illustrates an exemplary GPS Screen 1100 of the
  used for tracking the location of a user whereby user location      Location and Tracking software used to manage a GPS
  information is conveyed to contacts based upon the location          receiver that is associated with a user 's PDA (or other
  of the user relative to one or more zones defined by the user .     computing device ) via a Bluetooth connection . GPS Screen
  As such , user location information described below corre -          1100 includes fields for displaying and controlling GPS
  sponds to object location information generally described 60 device settings , a button for turning the Bluetooth connec
  above .                                                      tion on and off, a button for turning the GPS device on and
     The Location and Tracking software is typically used in          off, and buttons for controlling whether real- time or simu
  the LOCATION mode . This means that a GPS connection is             lated GPS data is conveyed . GPS Screen 1100 also includes
  active and a polling rate is set to periodically send location      Setup button 1102 used to launch the Tracking Setup Screen .
  packets indicating the location of the user to a central 65 FIG . 12a illustrates an exemplary Tracking Setup Screen
  database . If a user sets TRACKING to OFF , location packets 1200 of the Location and Tracking software used to control
  only update the current location record . If TRACKING is set        the rate at which GPS information is polled , to examine GPS



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  information records, and to turn on or off the TRACKING                code for each buddy '. If a public zone is available it can be
  mode. Tracking Setup Screen 1200 includes Files button                 selected and loaded into the user 's device . Users share
  1202 that is used to launch Log File Selection Screen 1204             access codes in order to share zones. As such , a user tells
  that is used to select a log file . A log file can be written to   another user the access code needed to load a zone .
  and then later read , as controlled by the Use button , to cause 5 FIG . 15 illustrates an exemplary Contact Screen 1500 of
  a play back of GPS information .                                  the Location and Tracking software used to manage infor
     FIG . 12b illustrates an exemplary Log File Selection mation            corresponding to contacts (i.e., other users). The
  Screen 1204 of the Location and Tracking software used to         Contact Screen 1500 allows the user to populate information
  select a log file for storing GPS information . Log File
  Selection Screen 1024 provides a typical Open dialog win - 10 mation  corresponding to contacts such as name and address infor
  dow allowing a user to open a log file stored at any storage                 .
                                                                          FIG . 16 illustrates an exemplary Camera Screen 1600 of
  location to which the user (and the user 's device ) has access . the Location and Tracking software used to manage pictures
     FIG . 13a illustrates an exemplary Map Screen 1300 of the
  Location and Tracking software used to display a map associated with user location information . The Camera
  received from a map server  ver.. The
                                    The Map
                                        Man Screen
                                            Screen 1300
                                                    1300 isis used
                                                              used 1515 ser
                                                                        Screen 1600 is used to associate pictures and text with a user
  to request and locate a map using the current latitude and and to convey the picture information to other users . The
  longitude of the user, to turn the TRACKING mode on or pictures correspond to information packages described gen
  off, to display / edit data location records , to create zones , and   erally above , which could also include other forms of
  to size the map. These various functions are controlled via            information . The Camera Screen 1600 could alternatively be
  a row of buttons 1302 at the bottom of Map Screen 1300. 20 a Device Screen that controlled multiple devices including
  The row of buttons 1302 is also displayed on the bottom of             cameras , motion sensors , garage doors , web cams, etc. and
  Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and           corresponding information as described previously . As
  About Screen 1310 .                                           described previously , picture or other information packages
     FIG . 13b illustrates an exemplary Data Screen 1304 of the can be associated with zone information or event informa
  Location and Tracking software used to manage conveyance 25 tion .
  of tracking and zone information to specific users based on     FIG . 17 illustrates an exemplary Big Buttons Screen 1700
  access codes. It is accessed by selecting the Data button              of the Location and Tracking software used to provide easy
  included in the row ofbuttons 1302 displayed on the bottom             access to key application commands while walking or
  of Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 ,            driving .
  and About Screen 1310 . Specifically, Data Screen 1304 is 30              FIG . 18 illustrates an exemplary Map Viewer Web Page
  used to set access codes and to associate email addresses and          1800 used for displaying maps and other information con
  phone alerts with zones .                                              veyed by the Location and Tracking software .
     FIG . 13c illustrates an exemplary Zone Screen 1306 of the             FIG . 19 illustrates an exemplary Contact Viewer Web
  Location and Tracking software used to define user-defined             Page 1900 used for displaying contact information conveyed
  zones. It is accessed by selecting the Zone button included 35 by the Location and Tracking software .
  in the row of buttons 1302 displayed on the bottom of Data                FIG . 20 illustrates an exemplary web page -based display
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and of a map 2000 overlaid with GPS tracking and zone infor
  About Screen 1310 . The Zone Screen is used to define a mation conveyed by the Location and Tracking software . In
  zone and/ or to load a zone defined by another user . A user FIG . 20 , balloon icons labeled alphabetically that indicate
  can use the Zone Screen to controlwhether zone information 40 logged locationsof a user for which information is available .
  is shared (i.e ., made public ) to other users and to control          Also shown are two zones represented by rectangles. When
  whether the TRACKING mode is on or off.                                a given balloon is selected , information is displayed , for
     FIG . 13d illustrates an exemplary Size Screen 1308 of the          example , as shown in the information box in the center of the
  Location and Tracking software used to manage the size and             map corresponding to the balloon labeled F . Similarly ,
  other characteristics of a displayed map . It is accessed by 45 information is displayed corresponding to either of the zones
  selecting the Size button included in the row of buttons 1302          when either is selected .
  displayed on the bottom of Data Screen 1304 , Zone Screen                 FIG . 21 illustrates an exemplary web page for creation of
  1306 , Size Screen 1308, and About Screen 1310 . The Size              zones 2100 that can be used with the Location and Tracking
  Screen 1308 is used to set the scale ( or zoom ) of the map , software . As shown in FIG . 21 , a zone is created by selecting
  to turn on or off the display of zone boundaries, and to 50 a first point on a map indicated by a first balloon and
  control auto centering of maps .                              dragging to another point on a map indicated by a second
    FIG . 13e illustrates an exemplary About Screen 1310 of              balloon where the two points correspond to opposite corners
  the Location and Tracking software used to provide a notice            of a rectangle representing the user-defined zone boundary.
  concerning Tracking Privacy Issues, software version infor-               FIG . 22 illustrates an exemplary map displayed on a web
  mation , and copyright information . It is accessed by select- 55 page 2200 depicting logging of user location information
  ing the About button included in the row of buttons 1302 while a user is within a zone and logging of user location
  displayed on the bottom of Data Screen 1304, Zone Screen information when a user enters or leaves a zone. As depicted
  1306 , Size Screen 1308, and About Screen 1310 .           in FIG . 22, one type of zone 2202 provides user location
     The row of buttons 1302 displayed on the bottom of Data information periodically while a user is within the zone .
  Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and 60 Another type of zone 2204 only provides user location
  About Screen 1310 also includes a Close button that when               information when the user enters or exits the zone.
  selected returns the user to the Main Screen 900 .                       FIG . 23 illustrates an exemplary map displayed on a web
     FIG . 14 illustrates an exemplary Group Screen 1400 of              page 2300 depicting a picture associated with a location of
  the Location and Tracking software used to manage infor-  a user. As shown in FIG . 23 , a balloon labeled F corresponds
  mation corresponding to groups of contacts . The Group 65 to a location of a user . An information package consisting of
  Screen 1400 is used to add or remove users from a stored               a picture that has been associated with the user ' s location is
  ' buddy list containing the user name, phone number and                available as part of the information displayed when the


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  balloon is selected . In the information window is a thumb                      information source , said zone having a boundary
  nail of the picture which when selected displays the fully                      defined by a plurality of coordinates within said coor
  enlarged picture .                                                           dinate system ;
     The Location and Tracking software described herein was                monitoring by said first database management system
  provided as an example of the types of applications that are 5               software said object location information ; determining
  enabled by the present invention . While particular embodi                   by said first database management system software said
  ments and several exemplary applications (or implementa                      event condition has been met; and
  tions) of the invention have been described , it will be                  conveying by said first database management system
  understood , however, that the invention is not limited                     software said alert to said second database management
  thereto , since modifications may be made by those skilled in 10
  the art, particularly in light of the foregoing teachings . It is,          software of only those authorized users included on
  therefore, contemplated by the appended claims to cover any                 said first access list .
  such modifications that incorporate those features or those                2 . The method of claim 1 , wherein said object location
  improvements which embody the spirit and scope of the                   information specifies the location of a second authorized
  present invention .                                                  15 User.
                                                                            3 . The method of claim 2 , wherein said first access list
     The invention claimed is:                                            specifies a third authorized user.
     1. A method for controlling conveyance of location and                  4 . The method of claim 1, wherein said first authorized
  tracking information provided as an Internet service, com               user can define zone information that specifies a user
  prising:                                                             20 defined zone.
    providing a computer server connected to the Internet,                   5 . The method of claim 4 , wherein said first authorized
       said computer server executing first database manage               user can define a zone information access code that is a
      ment system software that maintains a database of                   second access list that specifies one or more authorized users
      location and tracking information about a first infor -             of said plurality of users to be provided access to said zone
       mation sharing environment used by a plurality of 25 information .
       authorized users ;                                                    6 . The method of claim 5 , wherein said first database
    providing one or more first administrative privileges used           management system software conveys said zone informa
      by a first administrator to maintain said first informa-           tion to said second database management software of only
      tion sharing environment, said one or more first admin             those authorized users included on said second access list.
       istrative privileges being used to : a ) define a plurality of 30 7 . The method of claim 1 , wherein said first authorized
       second information sharing environments correspond - user can associate an information location source with an
       ing to a plurality of purchasers of said Internet service ,        object.
       b ) provide each authorized user of said plurality of                8 . The method of claim 7, wherein said first authorized
       authorized users a respective user account name and                user can define an object location information access code
       password to use as part of a login process, and c ) assign 35 that is a third access list that specifies one or more authorized
       each authorized user of said plurality of authorized               users of said plurality of users to be provided access to said
       users to only one of said second information sharing               object location information .
       environments of said plurality of second information                9 . The method of claim 8 , wherein said first database
       sharing environments, said plurality of second infor -            management system software conveys said object location
       mation environments coexisting independent of each 40 information to said second database management software
       other within said first information sharing environment;           of only those authorized users included on said third access
    providing second administrative privileges used to main -             list.
      tain said plurality of second information sharing envi -                10 . The method of claim 1, wherein said first database
       ronments to a plurality of second administrators , said            management system software conveys said object location
       second administrative privileges being used to : a ) 45 information to said second database management software
       define one or more groups within a respective second               of only those authorized users included on said first access
       information sharing environment, and b ) assign each               list.
       authorized user of the respective second information                   11 . The method of claim 1 , wherein the event condition
       sharing environment to one or more of said groups ;                relates to a period of movement or a period of non -move
     providing a plurality of second database management 50 ment of the object within the zone during a time interval.
       system software that executes on a plurality of com -                 12 . The method of claim 1, wherein the alert comprises a
       puting devices of said plurality of authorized users , said        video transmitted to a computing device based on the event
       plurality of second database management system soft -              information access code after the event condition is met .
       ware interfacing with said first database management                  13 . The method of claim 1 , wherein a computing device
       system software , each second database management 55 at a premise of an authorized user is remotely connected to
       system software of said plurality of second database one or more central or distributed application services of a
      management system software enabling a first autho-                  third administrator different form the first and second admin
      rized user of said plurality of authorized users to : a )           istrators having a third level of administrative privileges to
      define an event condition based on an object location               a third database management system software of a third
       information corresponding to a location of an object 60 database management system software, wherein a logical
       and a zone information corresponding to a zone, and b )            application service interface of the third database manage
       define an event information access code that is a first           ment system software delivers a location tracking applica
       access list that specifies one or more authorized users of tion service to the object.
       said plurality of users to be provided an event infor -       14 . The method of claim 13, the third database manage
       mation comprising an alert when said event condition 65 ment system software causes transmission of a video by the
       has been met, said object location being a coordinate              object to a computing device based on the event information
       within a coordinate system provided by a location                  access code.



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    15 . The method of claim 1, wherein the second database           by sensor devices within zones that provide corresponding
  management system software provides a logical application           wireless links for conveyance of commands to the sensor
  service interface for configuring a location tracking appli -       devices and receive of sensor information packages from the
  cation    executed at of   object1. wherein the second database 5 sensor
                        the claim                                          devices, comprising :
     1616 . The
            The method
                method of claim    1 , wherein the second database 5 providing   a computer server connected to the Internet ,
                                                                         said computer server executing a database management
  management system software provides a logical application
  service interface for configuring the object over a wireless             system software that maintains one or more central or
  connection to track sensor measures of physical character                distributed databases of first information about a first
  istics .                                                                 software application used by the plurality of authorized
                                                                   users ;
     17 . The method of claim 16 ,wherein the second database 10 providing
  management system software provides a logical application                 one or more first administrative privileges used
  service
  se        interface for 1) setting a rate at the object, 2 )     by the administrator to maintain said first software
  controlling a tracking function at the object over the wireless   application , said first administrative privileges being
  connection ; 3 ) tuning on or off a function at the object, 4 )  used to manage a plurality of second tracking applica
  entering a log file name; 5 ) ending execution of the location 15       tions purchased by a plurality of purchasers of said ISP ,
  tracking application ; 6 ) logging on and off from the location          b ) provide each authorized user a respective user
  tracking application on the object ; 7) managing character               account name and password to use as part of a login
  istics of a displayed map on the object; 8 ) grouping contacts           process , and c ) assign each authorized user to a second
  by adding and removing users ; 9) controlling a motion                   tracking application , said plurality of second tracking
  sensor, temperature sensor, garage door, camera or light; 10 ) 20        applications executing independent of each other and
  simultaneously viewing multiple zones on the same screen                 the first application ;
  of the object; 11 ) remotely adjust camera disposed in the            providing second administrative privileges used to main
  object via a mobile phone or fixed computer; or 12 ) sched              tain said plurality of second tracking applications to a
  uling a function for activity within the zone ; 13 ) presenting         plurality of second administrators other than the admin
  locations of a plurality of zones in proximity of the object; 25         istrator, said second administrative privileges being
  or 14 ) sending a message containing a file when the object             used to : a ) define a group within a respective second
  is in the proximity of another fixed or mobile object; or 15 )          tracking application , and b ) assign an authorized user
  logging locations of a user of the object.                               of the group ;
     18 . The method of claim 17 , wherein the second database          providing a plurality of second database management
  management system software triggers actions based on 30                 system software to said plurality of authorized users,
  real-time data .                                                         said plurality of second database management system
     19 . The method of claim 1, wherein the object includes :             software interfacing with said first database manage
     a transmitter that causes transmission of the location               ment system software , each second database manage
        information to the second database management sys                 ment system software of said plurality of second data
        tem software applications to manage location informa- 35           base management system software enabling a first
        tion ;                                                             authorized user of said plurality of authorized users to :
     a receiver that receives a request from a server and sends           a ) define an event condition based on a sensor infor
        the request to a location tracking application executed           mation within an identified zone, and b ) define an event
        at the object remote from the server to allow config               information access code that is an access list that
        uring information packages comprising image , audio or 40          specifies one or more authorized users of said plurality
        accessible by the location tracking application based on           of authorized users to be provided an event information
        the event information access code .                                comprising an alert when said event condition has been
    20 . A method executed in one ore central or distributed              met ,
  computer servers having an administrator that serves soft             monitoring said sensor information to determine whether
  ware application programsas tracking services to computing 45            said event condition has been met; and conveying said
  devices of a plurality of authorized users of a tracking                 alert only to those authorized users included on said
  Internet service provider (ISP ) who use the computing                   access list.
  devices to track measures of physical characteristics sensed                                ?             *




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